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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,   )
12                               )        Cr.S. 04-0032-GEB
                 Plaintiff,      )
13                               )        PROPOSED ORDER TO RELEASE
            v.                   )        PASSPORT
14                               )
     CHRISTOPHER BURGESS,        )
15                               )
                 Defendant.      )
16                               )
     ____________________________)
17
18         On January 18, 2008, defendant Christopher Burgess contacted the
19   Federal Defender’s office concerning the return of his passport.           Mr.
20   Burgess had attempted to retrieve his passport directly from the Court
21   but was told he needed an order to release it.
22         On January 28, 2004, Mr. Burgess deposited his passport (receipt
23   #055498128) with the Court as a condition of his release on bond.           On
24   November 19, 2004, the defendant pled guilty.        He was sentenced by this
25   Court on April 11, 2005 to 3 months imprisonment with a surrender date
26   of June 8, 2005.    He has completed that sentence.       His supervised
27   release was terminated early by the Court on September 13, 2007.            Mr.
28   Burgess requests the return of his passport by mail to 9101 Castlebar
              Case 2:04-cr-00032-GEB Document 58 Filed 01/25/08 Page 2 of 2


 1   Way, Sacramento, CA 95826.        Mr. Burgess’s telephone number is 916-213-
 2   5687.
 3            A proposed order follows for the Court's convenience.
 4   Dated:    January 24, 2008
 5                                         Respectfully submitted,
 6                                         DANIEL J. BRODERICK
                                           Federal Defender
 7
 8                                         RACHELLE BARBOUR
                                           ________________________________
 9                                         RACHELLE BARBOUR
                                           Assistant Federal Defender
10
11
12                                        O R D E R
13
              The Clerk of the Court for the Eastern District of California is
14
     ordered to release Mr. Burgess’ passport by mail forthwith.
15
16   Dated:    January 24, 2008

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18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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